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              EXHIBIT B
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From: Matthew Montgomery
Sent: Friday, September 11, 2020 9:08 AM
To: Falconer, Russ <RFalconer@gibsondunn.com>; Mumm, Laura C. <LMumm@gibsondunn.com>;
Lesley Weaver <LWeaver@bfalaw.com>; Anne Davis <ADavis@bfalaw.com>; Derek Loeser
<dloeser@kellerrohrback.com>; David Ko <dko@kellerrohrback.com>; Cari Laufenberg
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Cc: Stein, Deborah L. <DStein@gibsondunn.com>; Davis, Colin B. <CDavis@gibsondunn.com>;
Swanson, Alexander <ASwanson@gibsondunn.com>; Sullivan, Luke M.
<LSullivan@gibsondunn.com>; Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>; Chris
Springer <cspringer@kellerrohrback.com>; Benjamin Gould <bgould@KellerRohrback.com>;
Angelica Ornelas <aornelas@bfalaw.com>; Josh Samra <JSamra@bfalaw.com>
Subject: Plaintiffs' Fourth Set of Interrogatories

Counsel:

Plaintiffs write to respond to Facebook’s proposals regarding Plaintiffs’ fourth set of interrogatories.
Plaintiffs are happy to hear that Facebook intends to amend its responses in light of Judge Corley’s
recent order. Plaintiffs believe that the most efficient path forward is for Facebook to amend all of
its responses at once. Plaintiffs expect Facebook to produce those amended responses within three
weeks of Judge Corley’s ruling at the discovery conference, in other words by September 25. With
regard to the numbering of subparts, Plaintiffs direct Facebook to Safeco of Am. v. Rawstrom, 181
F.R.D. 441, 445 (C.D. Cal. 1998) and its many progeny in this circuit, including from the N.D. Cal. In
particular, contrary to your cited authority, “interrogatory subparts are to be counted as one
interrogatory ... if they are logically or factually subsumed within and necessarily related to the
primary question.” Safeco, 181 F.R.D. at 445 (C.D. Cal. 1998); see also, Synopsys, Inc. v. ATopTech,
Inc., 319 F.R.D. 293, 294-95 (N.D. Cal. 2016). Subparts that seek information related to the same
subjects “should be counted as one interrogatory. Id. at 295; see also Int'l Petroleum Prod. &
Additives Co., Inc. v. Black Gold S.A.R.L., No. 19CV03004YGRRMI, 2020 WL 4673947, at *5 (N.D. Cal.
Aug. 12, 2020); In re Lithium Ion Batteries Antitrust Litig., No. 13MD02420YGRDMR, 2015 WL
1221924, at *2 (N.D. Cal. Mar. 17, 2015).

Plaintiffs were disappointed that the parties were unable to agree upon a categorical definition of
“business partners” for the purposes of the interrogatories at issue and other discovery. As you may
recall, the Court grappled with this same ambiguity at the Motion to Dismiss. Ultimately, the Court
resolved the problem by focusing on the conduct of the entities, stating “[a]lthough the category [of
business partners] is somewhat vague, the alleged misconduct is relatively straightforward. The
complaint alleges that Facebook shared information about its users with this non-exclusive list of
business partners, and that those companies in turn shared data with Facebook.” Pretrial Order No.
20 at 8. Plaintiffs expect Facebook to use the same conduct-based definition that the Court used
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and will seek relief if Facebook will not do so. Given that the interrogatories, such as No. 14, specify
business partners who could access “the not Generally Available Content and Information of
Facebook users even if such Facebook Users had not downloaded an app from that business
partner,” whitelisted apps and any third parties who accessed only public data should be excluded.
To avoid having to amend its responses again, Plaintiffs urge Facebook to help resolve the issues
Plaintiffs previously raised regarding its responses to interrogatories 8-11, most importantly
Facebook’s refusal to identify in response to Interrogatory No. 9 the capabilities used by integration
partners to access user content and information. Finally, Plaintiffs agree to withdraw Interrogatory
No. 29 which, in light of the issues above, now appears duplicative. If Facebook wishes to discuss
these matters further, Plaintiffs are happy to make time outside of the standing meet and confer
sessions to do so.




From: Falconer, Russ <RFalconer@gibsondunn.com>
Sent: Wednesday, September 9, 2020 2:23 PM
To: Matthew Montgomery <mmontgomery@bfalaw.com>; Mumm, Laura C.
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Swanson, Alexander <ASwanson@gibsondunn.com>; Sullivan, Luke M.
<LSullivan@gibsondunn.com>; Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>
Subject: RE: In re Facebook: ADI Sampling Proposal

Matt:

We’ll respond separately on the other items, but there are a couple we should be able to
resolve without taking up time tomorrow. Facebook consents to Plaintiffs’ request for a six
week extension of time to respond to Facebook’s Second Set of Interrogatories. And subject
to the one redlined modification in the attached draft, we are fine with your proposed
stipulation re the motion to dismiss/answer schedule.

On your question about the definition of “business partners” as it is used in the document
attached to your e-mail — not to be overly literal, but that document doesn’t used the term
“business partners.” Can you clarify what you mean there?

Thanks,
Russ


Russ Falconer


GIBSON DUNN
